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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

PHILLIP C. ROGERS,

        Plaintiff,

v.

CHECK INTO CASH, INC.,

      Defendant.
_________________________/

                                          COMPLAINT

I. Introduction

        1.      This is an action for damages brought against Defendant for violating the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 and for invading plaintiff’s

privacy.

        2.      The TCPA prohibits a person or entity from texting, or using an agent to text, an

advertisement to a cellular telephone without the recipient’s prior express invitation or

permission. The TCPA provides a private right of action and provides statutory damages of up to

$500.00 per violation, or in the court’s discretion, $1,500.00 per willful violation.

        3.      Unsolicited text messages damage the recipient. A text message recipient loses

the use of his prepaid minutes and data space on his cellular telephone. An unsolicited text

message wastes the recipient’s time that would have been spent on something else. An

unsolicited text invades and interrupts the recipient’s privacy. Unsolicited texts can also result in

a full inbox, preventing the recipient’s cellular telephone from receiving authorized texts, and

require additional time and labor to attempt to discern the source and purpose of the unsolicited

message.



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        4.     Defendant, along with other entities and individuals to be identified in discovery,

sent ten (10) or more unsolicited text messages to Plaintiff’s cellular telephone, offering to make

short term loans. Each message showed up on the display of Plaintiff’s cellular telephone merely

as a “New Message.” In order to determine the sender and content of each message, Plaintiff was

required to use his prepaid minutes.

II. Jurisdiction and Venue

        5.     This court has subject matter jurisdiction under 47 U.S.C. § 227 and 28 U.S.C. §

1331.

        6.     Venue is proper in the United States District Court for the Western District of

Michigan because each text message was received in this judicial district, and a substantial part

of the events giving rise to Plaintiff’s claims occurred here.

III. Parties

        7.     Plaintiff Phillip C. Rogers is a natural person residing in Kent County, Michigan.

Plaintiff is a “person” as that term is defined and used in the TCPA.

        8.     Defendant Check Into Cash, Inc. is a Delaware corporation. Defendant conducts

business in Michigan and throughout the United States. Defendant’s registered agent is The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801. Defendant’s principal place of business is located at 201 Keith Street SW, Suite

80, Cleveland, Tennessee37311-5867.

        9.     Defendant maintains an internet domain name (www.checkintocash.com) and

related internet website, through which Defendant makes payday loans to consumers.




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       10.     Defendant uses the Common Short Code (“CSC”) 90101 to send SMS text

messages to consumers, advertising defendant’s payday loans. See

www.usshortcodedirectory.com.

IV. Facts

       11.     In September of 2016, Plaintiff purchased a cellular telephone from Walmart. The

cellular telephone was pre-programmed to use a network operated by a prepaid wireless service

provider named Tracfone Wireless, Inc. (“Tracfone”). Plaintiff also purchased from Walmart, a

set amount of prepaid minutes to allow the cellular telephone to make and receive telephone

calls, as well as to send and receive text messages. Plaintiff, via the internet, activated the

cellular telephone through Tracfone’s website. Tracfone randomly assigned to Plaintiff’s cellular

telephone, the following telephone number: 216-225-xxxx.

       12.     A text message received on Plaintiff’s cellular telephone is merely displayed on

the screen as a “New message.” In order for Plaintiff to determine the sender and content of the

new message, Plaintiff is required to use a portion of his prepaid minutes.

       13.     Between October 21, 2016 and June 16, 2017, Defendant transmitted (or caused

to be transmitted) at least ten (10) SMS text messages to Plaintiff’s cellular telephone, each

advertising Defendant’s payday loan business. A list of the text messages, with dates, times,

short codes, and content, is attached as Exhibit A.

       14.     SMS text messages are subject to the same consumer protections under the TCPA

as voice calls. In re Matter of Rules and Regulations Implementing the Tel. Consumer Prot. Act

of 1991, Declaratory Ruling and Order, CG Docket No. 02-278, WC Docket No. 07-135, FCC

15-72, ¶ 107 (rel. July 10, 2015), https://www.fcc.gov/document/tcpa-omnibus-

declaratory-ruling-and-order (the “2015 FCC Order”).




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       15.      Defendant used an “automatic telephone dialing system,” as the phrase is defined

and used in the TCPA, to make calls and send the SMS text messages to Plaintiff’s cellular

telephone. Specifically, the equipment used by Defendant to make calls and send the SMS text

messages to Plaintiff’s cellular telephone had the capacity (a) to store or produce telephone

numbers to be called, using a random or sequential number generator, and (b) to dial such

numbers. See 47 U.S.C. § 227(a)(1).

       16.      Equipment used to originate Internet-to-phone text messages to wireless numbers

via email or via a wireless carrier’s web portal is an “automatic telephone dialing system” as

defined in the TCPA, and therefore calls made using the equipment require consent. 2015 FCC

Order, ¶¶ 108-122.

       17.      None of the above-described calls made by Defendant to Plaintiff’s cellular

telephone was made for “emergency purposes” as the phrase is used in the TCPA, 47 U.S.C. §

227(b)(1)(A).

       18.      None of the above-described calls made by Defendant to cellular telephone

number 216-225-xxxx was made for “emergency purposes” as the phrase is used in the TCPA,

47 U.S.C. § 227(b)(1)(A).

       19.      None of the above-described text messages sent by Defendant to Plaintiff’s

cellular telephone was made for “emergency purposes” as the phrase is used in the TCPA, 47

U.S.C. § 227(b)(1)(A).

       20.      None of the above-described text messages sent by Defendant to cellular

telephone number 216-225-xxxx made for “emergency purposes” as the phrase is used in the

TCPA, 47 U.S.C. § 227(b)(1)(A).




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        21.     Defendant did not obtain Plaintiff’s “prior express consent” as the phrase is used

in the TCPA, 47 U.S.C. § 227(b)(1)(A), to make the above-described calls to Plaintiff’s cellular

telephone.

        22.     Defendant did not obtain Plaintiff’s “prior express consent” as the phrase is used

in the TCPA, 47 U.S.C. § 227(b)(1)(A), to make the above-described calls to cellular telephone

number 216-225-xxxx.

        23.     Defendant did not obtain Plaintiff’s “prior express consent” as the phrase is used

in the TCPA, 47 U.S.C. § 227(b)(1)(A), to send the above-described text messages to Plaintiff’s

cellular telephone.

        24.     Defendant did not obtain Plaintiff’s “prior express consent” as the phrase is used

in the TCPA, 47 U.S.C. § 227(b)(1)(A), to send the above-described text messages to cellular

telephone number 216-225-xxxx.

        25.     Defendant did not obtain Plaintiff’s “prior express invitation or permission” as the

phrase is used in the TCPA, 47 U.S.C. § 227(a)(4)(A), to make the above-described calls to

Plaintiff’s cellular telephone.

        26.     Defendant did not obtain Plaintiff’s “prior express invitation or permission” as the

phrase is used in the TCPA, 47 U.S.C. § 227(a)(4)(A), to make the above-described calls to

cellular telephone number 216-225-xxxx.

        27.     Defendant did not obtain Plaintiff’s “prior express invitation or permission” as the

phrase is used in the TCPA, 47 U.S.C. § 227(a)(4)(A), to send the above-described text messages

to Plaintiff’s cellular telephone.




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       28.     Defendant did not obtain Plaintiff’s “prior express invitation or permission” as the

phrase is used in the TCPA, 47 U.S.C. § 227(a)(4)(A), to send the above-described text messages

to cellular telephone number 216-225-xxxx.

       29.     Plaintiff has never had an “established business relationship,” as the phrase is

used in the TCPA, 47 U.S.C. § 227(a)(4)(B), with Defendant.

       30.     Defendant is not a “tax exempt nonprofit organization” as the phrase is used in the

TCPA, 47 U.S.C. § 227(a)(4)(C).

       31.     Defendant made the above-described calls to Plaintiff’s cellular telephone for the

purpose of encouraging the recipient of the call to obtain a personal loan from Defendant or

Defendant’s customers.

       32.     Defendant made the above-described calls to cellular telephone number 216-225-

xxxx for the purpose of encouraging the recipient of the call to obtain a personal loan from

Defendant or Defendant’s customers.

       33.     Defendant sent the above-described text messages to Plaintiff’s cellular telephone

for the purpose of encouraging the recipient of the text messages to obtain a personal loan from

Defendant or Defendant’s customers.

       34.     Defendant sent the above-described text messages to cellular telephone number

216-225-xxxx for the purpose of encouraging the recipient of the text messages to obtain a

personal loan from Defendant or Defendant’s customers.

       35.     The above-described text messages sent by Defendant to Plaintiff’s cellular

telephone were “unsolicited advertisements” as the phrase is defined and used in the TCPA, 47

U.S.C. § 227(a)(5), because they were material advertising the commercial availability or quality




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of property, goods, or services which were transmitted to Plaintiff without Plaintiff’s prior

express invitation or permission, in writing or otherwise.

       36.     The above-described text messages sent by Defendant to cellular telephone

number 216-225-xxx were “unsolicited advertisements” as the phrase is defined and used in the

TCPA, 47 U.S.C. § 227(a)(5), because they were material advertising the commercial

availability or quality of property, goods, or services which were transmitted to the recipient

without the recipient’s prior express invitation or permission, in writing or otherwise.

       37.     Defendant made the above-described calls using an automatic telephone dialing

system to a telephone number (216-225-xxxx) assigned to cellular telephone service. The calls

were not for emergency purposes and the calls were not made with the prior express consent of

the called party. Accordingly, Defendant violated the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii).

       38.     Defendant sent the above-described text messages using an automatic telephone

dialing system to a telephone number (216-225-xxxx) assigned to cellular telephone service. The

text messages were not sent for emergency purposes and the text messages were not sent with the

prior express consent of the recipient of the text messages. Accordingly, Defendant violated the

TCPA, 47 U.S.C. § 227(b)(1)(A)(iii).

       39.     “When the new subscriber to a reassigned number has not consented to the calls

to that number, the caller may reasonably be considered to have constructive knowledge – if not

actual knowledge – of the revocation of consent provided by the original subscriber to the

number when the caller makes the first call without reaching the original subscriber. . . . [T]he

opportunity for callers engaged in best practices to avoid liability for the first call following

reassignment acknowledges callers’ need for a reasonable opportunity to discover a reassignment

using available tools, while ensuring that those callers who have not taken steps available to




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avoid making calls to reassigned numbers do not have, effectively, the ability to make unlimited

calls in a manner that contravenes the consumer protection goals of the TCPA. . . . Calls to

wireless numbers, where the caller does not have the consent of the called party – meaning the

current subscriber or customary user, as defined above – violate the TCPA, absent [an

emergency purposes or prior express consent of the called party].” 2015 FCC Order, ¶¶ 85-93.

       40.      Defendant willfully and knowingly violated the TCPA.

       41.      As an actual and proximate result of the acts and omissions of Defendant and its

employees and agents, Plaintiff has suffered actual damages and injury, including but not limited

to, monetary loss, periodic loss of the use of his cellular telephone, annoyance, aggravation,

invasion of his privacy, and violation of his right as created by Congress to be free from

Defendant’s unsolicited advertisements and intrusion in Plaintiff’s life, for which Plaintiff

should be compensated in an amount to be established at trial.

V. Claims for Relief

                         Count 1 – Telephone Consumer Protection Act

       42.      Plaintiff incorporates the foregoing paragraphs by reference.

       43.      Defendant has violated the TCPA. Each Defendant’s violations of the TCPA

include, but are not necessarily limited to, the following:

             a) Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii).

Wherefore, Plaintiff seeks judgment against Defendant for:

       a)       Actual monetary loss or $500.00 in damages for each violation, whichever is

                greater, being a minimum of $500.00 per call made and text message sent

                (excluding the first call and text message sent) by Defendant to Plaintiff’s cellular

                telephone, pursuant to 47 U.S.C. § 227(b)(3)(B);




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       b)     Treble damages, calculated as $1,500.00 per call made and text message sent

              (excluding the first call and text message sent) by Defendant to Plaintiff’s cellular

              telephone, pursuant to 47 U.S.C. § 227(b)(3);

       c)     An injunction requiring Defendant to cease calling and cease sending text

              messages to Plaintiff’s cellular telephone, pursuant to 47 U.S.C. § 227(b)(A);

       d)     Costs of this action; and

       e)     Such other and further relief as the Court deems just and proper.



Dated: June 20, 2017                                        /s/ Phillip C. Rogers
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